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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.

  RENZO BARBERI,

                 Plaintiff,

                 vs.

  RALUNA SOLAR ENERGY SOLUTIONS
  INC., a Florida Profit Corporation d/b/a
  CUTLER BAY SOLAR SOLUTIONS and
  SOLAR SOLUTIONS OF FLORIDA
  HOLDINGS INC., a Florida Profit
  Corporation,

              Defendants.
  _______________________________/

                                           COMPLAINT

  Plaintiff, RENZO BARBERI (hereinafter “Plaintiff”), through the undersigned counsel, hereby

  files this Complaint and sues RALUNA SOLAR ENERGY SOLUTIONS INC. d/b/a CUTLER

  BAY SOLAR SOLUTIONS (“RALUNA”) and SOLAR SOLUTIONS OF FLORIDA

  HOLDINGS INC. (“SSFH”) (hereinafter, collectively referred to as “Defendants”) for

  declaratory and injunctive relief; for discrimination based on disability; and for the resultant

  attorney's fees, expenses, and costs (including, but not limited to, court costs and expert fees),

  pursuant to 42 U.S.C. §12181 et. seq. ("AMERICANS WITH DISABILITIES ACT OF 1990,"

  or "ADA") and alleges:



  JURISDICTION
  1.     This Court is vested with original jurisdiction over this action pursuant to 28 U.S.C.

  §1331 and §1343 for Plaintiff’s claims arising under Title 42 U.S.C. §12181 et. seq., based on


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  the Defendants’ violations of Title III of the Americans with Disabilities Act of 1990,

  (hereinafter referred to as the "ADA"). See also 28 U.S.C. §2201 and §2202.



  VENUE
  2.      The venue of all events giving rise to this lawsuit is located in Miami-Dade County,

  Florida. Pursuant to 28 U.S.C. §1391(B) and Rule 3.1 of Local Rules of the United States

  District Court for the Southern District of Florida, this is the designated court for this suit.



  PARTIES
  3.      Plaintiff, RENZO BARBERI, is a resident of the State of Florida. At the time of

  Plaintiff’s visit to Cutler Bay Solar Solutions (“Subject Facility”), Plaintiff suffered from a

  “qualified disability” under the ADA and required the use of a wheelchair for mobility.

  Specifically, Plaintiff suffers from paraplegia due to a severed T4 and T5 and is therefore

  confined to his wheelchair. Plaintiff personally visited Cutler Bay Solar Solutions but was denied

  full and equal access, and full and equal enjoyment of the facilities, services, goods, and

  amenities within Cutler Bay Solar Solutions, which is the subject of this lawsuit. The Subject

  Facility is a solar energy equipment supplier, and Plaintiff wanted to inquire about their products

  and services but was unable to due to the discriminatory barriers enumerated in Paragraph 15 of

  this Complaint.



  4.      In the alternative, Plaintiff, RENZO BARBERI, is an advocate of the rights of similarly

  situated disabled persons and is a “tester” for the purpose of asserting his civil rights and

  monitoring, ensuring, and determining whether places of public accommodation are in

  compliance with the ADA.



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  5.      The Defendants, RALUNA and SSFH, are authorized to conduct business and are in fact

  conducting business within the State of Florida. The Subject Facility is located at 10482 SW

  186th Terrace, Miami, FL 33157. Upon information and belief, RALUNA is the lessee and/or

  operator of the Real Property and therefore held accountable of the violations of the ADA in the

  Subject Facility which is the matter of this suit. Upon information and belief, SSFH is the owner

  and lessor of the Real Property where the Subject Facility is located and therefore held

  accountable for the violations of the ADA in the Subject Facility which is the matter of this suit.



  CLAIMS: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT


  6.      Plaintiff adopts and re-alleges the allegations stated in paragraphs 1 through 5 of this

  complaint, as are further explained herein.



  7.      On July 26, 1990, Congress enacted the Americans with Disabilities Act ("ADA"), 42

  U.S.C. §12101 et. seq. Commercial enterprises were provided one and a half years from

  enactment of the statute to implement its requirements. The effective date of Title III of the ADA

  was January 26, 1992, or January 26, 1993 if Defendants had ten (10) or fewer employees and

  gross receipts of $500,000 or less. See 42 U.S.C. §12181; 28 C.F.R. §36.508(a).



  8.      As stated in 42 U.S.C. §12101(a) (1)-(3), (5) and (9), Congress found, among other

  things, that:

          i. some 43,000,000 Americans have one or more physical or mental disability, and this
            number shall increase as the population continues to grow and age;

          ii. historically, society has tended to isolate and segregate individuals with disabilities
             and, despite some improvements, such forms of discrimination against disabled
             individuals continue to be a pervasive social problem, requiring serious attention;

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         iii. discrimination against disabled individuals persists in such critical areas as
            employment, housing, public accommodations, transportation, communication,
            recreation, institutionalization, health services, voting and access to public services and
            public facilities;

         iv. individuals with disabilities continually suffer forms of discrimination, including:
           outright intentional exclusion; the discriminatory effects of architectural, transportation,
           and communication barriers; failure to make modifications to existing facilities and
           practices; exclusionary qualification standards and criteria; segregation, and regulation
           to lesser services, programs, benefits, or other opportunities; and,

         v. the continuing existence of unfair and unnecessary discrimination and prejudice denies
           people with disabilities the opportunity to compete on an equal basis and to pursue
           those opportunities for which this country is justifiably famous and costs the United
           States billions of dollars in unnecessary expenses resulting from dependency and non-
           productivity.

  9.     As stated in 42 U.S.C. §12101(b)(1)(2) and (4), Congress explicitly stated that the

  purpose of the ADA was to:

         i. provide a clear and comprehensive national mandate for the elimination of
           discrimination against individuals with disabilities;

         ii. provide clear, strong, consistent, enforceable standards addressing discrimination
            against individuals with disabilities; and,

         iii. invoke the sweep of congressional authority, including the power to enforce the
            fourteenth amendment and to regulate commerce, in order to address the major areas of
            discrimination faced on a daily basis by people with disabilities.

  10.    Pursuant to 42 U.S.C. §12181(7) and 28 CFR §36.104, Title III, no individual may be

  discriminated against on the basis of disability with regards to the full and equal enjoyment of

  the goods, services, facilities, or accommodations of any place of public accommodation by any

  person who owns, leases (or leases to), or operates a place of public accommodation. Cutler Bay

  Solar Solutions is a place of public accommodation by the fact it is an establishment that

  provides goods/services to the general public, and therefore, must comply with the ADA. The

  Subject Facility is open to the public, its operations affect commerce, and it is a sales and service

  establishment. See 42 U.S.C. Sec. 12181(7) and 28 C.F.R. 36.104. Therefore, the Subject

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  Facility is a public accommodation that must comply with the ADA.



  11.     The Defendants have discriminated and continue to discriminate against Plaintiff and

  others who are similarly situated by denying access to, and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations at Cutler Bay Solar Solutions

  located at 10482 SW 186th Terrace, Miami, FL 33157, as prohibited by 42 U.S.C. §12182 and

  42 U.S.C. §12101 et. seq.; by failing to make reasonable modifications in policies, practices, or

  procedures pursuant to 42 U.S.C. §12182(b)(2)(A)(ii); and by failing to remove architectural

  barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



  12.     Plaintiff has visited the Subject Facility and has been denied full, safe, and equal access

  to the facility and therefore suffered an injury in fact.



  13.     Plaintiff shall suffer a future injury as Plaintiff intends to return and enjoy the goods

  and/or services at the Subject Facility within the next six months. The Subject Facility is in close

  proximity to Plaintiff’s residence and is in an area frequently travelled by Plaintiff. Furthermore,

  Plaintiff will also return to monitor compliance with the ADA. However, Plaintiff is precluded

  from doing so by the Defendants' failure and refusal to provide people with disabilities with full

  and equal access to their facility. Therefore, Plaintiff continues to suffer from discrimination and

  injury due to the architectural barriers, which are in violation of the ADA.



  14.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department of

  Justice, Office of the Attorney General, promulgated Federal Regulations to implement the



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  requirements of the ADA. The ADA Accessibility guidelines (hereinafter referred to as

  “ADAAG”), 28 C.F.R. Part 36, may cause violators to obtain civil penalties of up to $55,000 for

  the first violation and $110,000 for any subsequent violation.



  15.      The Defendants are in violation of 42 U.S.C. §12181 et. seq. and 28 C.F.R. 36.302 et.

  seq. and are discriminating against Plaintiff with the following specific violations which Plaintiff

  personally encountered and/or has knowledge of:

        a) The customer parking facility in front of the main business entrance does not provide a

           compliant accessible parking space. 2010 ADA Standards 502.1

        b) The customer parking in front of the building has five (5) marked standard parking spaces

           and zero (0) accessible parking spaces. There are eight (8) standard parking spaces and

           zero (0) accessible parking spaces. 2010 ADA Standards 208.2

        c) The parking facility does not have the minimum number of compliant accessible parking

           spaces required. One (1) accessible parking space with adjacent access aisle is required.

           2010 ADA Standards 208.2

        d) The parking facility does not provide directional and informational signage to a

           compliant accessible parking space. 2010 ADA Standards 216.5

        e) There is no compliant access aisle attached to an accessible route serving any existing

           parking space which would allow safe entrance or exit of vehicle for accessible persons

           requiring mobility devices. 2010 ADA Standards 502.2

        f) There is currently no existing accessible route to help persons with disabilities enter the

           facility or safely maneuver through the parking area. At least one accessible route must

           be provided within the site from accessible parking spaces and accessible passenger



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           loading zones; public streets and sidewalks; and public transportation stops to the

           accessible building or facility entrance they serve. 2010 ADA Standards 206.2.1

        g) Existing facility does not provide a compliant accessible route to the main customer

           entrance from any site arrival point. 2010 ADA Standards 206.2, 208, 401.1

        h) The lobby desk is too high. If a customer needs to write something down a compliant

           desk must be provided. The tops of work surfaces must be 28 inches (710 mm) minimum

           and 34 inches (865 mm) maximum above the finish floor. 2010 ADA Standards 902.3. A

           clear floor space complying with 305 positioned for a forward approach must be

           provided. Knee and toe clearance complying with 306 must be provided. 2010 ADA

           Standards 902.2



  16.      Upon information and belief there are other current violations of the ADA at Cutler Bay

  Solar Solutions which Plaintiff would encounter but for the discriminatory barriers in paragraph

  15 which prevent Plaintiff’s access to such additional violations. An inspection can identify all

  such violations which would be encountered by Plaintiff if the discriminatory barriers in

  Paragraph 15 did not prevent Plaintiff’s access to them. Accordingly, a complete list of

  violations which are discriminatory to Plaintiff will require an on-site inspection by Plaintiff’s

  representatives pursuant to Rule 34b of the Federal Rules of Civil Procedure.



  17.      Upon information and belief, Plaintiff alleges that removal of the discriminatory barriers

  and violations is readily achievable and technically feasible. To date, the readily achievable

  barriers and other violations of the ADA still exist and have not been remedied or altered in such

  a way as to effectuate compliance with the provisions of the ADA.



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  18.    Pursuant to the ADA, 42 U.S.C. §12101 et. seq. and 28 C.F.R. §36.304, the Defendants

  were required to make the establishment a place of public accommodation, accessible to persons

  with disabilities by January 28, 1992. As of this date, the Defendants have failed to comply with

  this mandate.



  19.    Plaintiff has been obligated to retain the undersigned counsel for the filing and

  prosecution of this action. Plaintiff is entitled to have its reasonable attorney's fees, costs and

  expenses paid by the Defendants pursuant to 42 U.S.C. §12205.



  20.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant Plaintiff

  injunctive relief, including an Order to alter the subject facilities to make them readily accessible

  and useable by individuals with disabilities to the extent required by the ADA, closing the

  Subject Facility until the requisite modifications are completed, entering an Order directed at

  maintenance and future compliance, and entering an Order for the Defendants to make

  reasonable modifications in policies, practices, or procedures.



                              COUNT I - DECLARATORY RELIEF


  21.    Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  22.    The Defendants have discriminated and continue to discriminate against Plaintiff and

  others who are similarly situated by denying access to, and full and equal enjoyment of goods,

  services, facilities, privileges, advantages and/or accommodations at the Subject Facility, as


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  prohibited by 42 U.S.C. §12182 and 42 U.S.C. §12101 et. seq.; by failing to make reasonable

  modifications in policies, practices, or procedures pursuant to 42 U.S.C. §12182(b)(2)(A)(ii); and

  by failing to remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



  23.     By failing to remove the architectural barriers set forth in paragraph 15, by failing to

  make reasonable modifications in policies, practices, or procedures to address discriminatory

  practices, and by failing to ensure compliance with the mandates of the ADA, the Defendants

  have discriminated and continue to discriminate against Plaintiff by denying access to, and full

  and equal enjoyment of goods, services, facilities, privileges, advantages and/or accommodations

  at the Subject Facility.



  24.     Unless declared that the Subject Facility owned, operated and/or controlled by the

  Defendants is in violation of the ADA, the Defendants shall continue to discriminate against

  Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment

  of goods, services, facilities, privileges, advantages and/or accommodations at the Subject

  Facility.



          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court declare that the Subject Facility owned, operated, and/or controlled by the

  Defendants is in violation of Title III of the ADA and award reasonable attorney's fees, all costs

  (including, but not limited to court costs and expert fees), and other expenses of suit, to Plaintiff.




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     COUNT II - INJUNCTIVE RELIEF TO REMOVE ARCHITECTURAL BARRIERS


  25.     Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  26.     By failing to remove the architectural barriers set forth in paragraph 15, Defendants have

  discriminated and continue to discriminate against Plaintiff by denying access to, and full and

  equal enjoyment of goods, services, facilities, privileges, advantages and/or accommodations at

  the Subject Facility.



  27.     Unless enjoined by the Court, Defendants shall continue to discriminate against Plaintiff

  and others who are similarly situated by denying access to, and full and equal enjoyment of

  goods, services, facilities, privileges, advantages and/or accommodations at the Subject Facility

  by failing to remove architectural barriers pursuant to 42 U.S.C. §12182(b)(2)(A)(iv).



  28.     Injunctive relief requiring Defendants to remove the architectural barriers set forth in

  paragraph 15 is necessary to make the Subject Facility accessible to and usable by individuals

  with disabilities to the full extent required by Title III of the ADA.

          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court enter an Order requiring the Defendants to alter the Subject Facility and remove

  architectural barriers to make the Subject Facility accessible to and usable by individuals with

  disabilities to the full extent required by Title III of the ADA, and award reasonable attorney's

  fees, all costs (including, but not limited to court costs and expert fees), and other expenses of

  suit, to Plaintiff.

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        COUNT III - INJUNCTIVE RELIEF TO MODIFY POLICIES, PRACTICES AND
                                            PROCEDURES


  29.     Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  30.     By failing to make reasonable modifications in policies, practices, or procedures to

  address discriminatory practices and to ensure compliance with the mandates of the ADA, the

  Defendants have discriminated and continue to discriminate against Plaintiff by denying access

  to, and full and equal enjoyment of goods, services, facilities, privileges, advantages and/or

  accommodations at the Subject Facility.



  31.     Unless enjoined by the Court, the Defendants shall continue to discriminate against

  Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment

  of goods, services, facilities, privileges, advantages and/or accommodations at the Subject

  Facility by failing to make reasonable modifications in policies, practices, or procedures pursuant

  to 42 U.S.C. §12182(b)(2)(A)(ii).



  32.     Injunctive relief requiring the Defendants to make reasonable modifications in policies,

  practices, or procedures to address discriminatory practices is necessary to make the Subject

  Facility accessible to and usable by individuals with disabilities to the full extent required by

  Title III of the ADA.



          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this


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  Honorable Court enter an Order requiring the Defendants to evaluate, neutralize, and modify

  their policies, practices, and procedures as are necessary to make the Subject Facility accessible

  to and usable by individuals with disabilities to the full extent required by Title III of the ADA

  and award reasonable attorney's fees, all costs (including, but not limited to court costs and

  expert fees), and other expenses of suit, to Plaintiff.



             COUNT IV- INJUNCTIVE RELIEF TO MAINTAIN COMPLIANCE


  33.     Plaintiff hereby incorporates by reference all of the allegations set forth in paragraphs 1

  through 20 above as though fully set forth verbatim herein.



  34.     By failing to remove the architectural barriers set forth in paragraph 15, by failing to

  make reasonable modifications in policies, practices, or procedures to address discriminatory

  practices, and by failing to ensure compliance with the mandates of the ADA, the Defendants

  have discriminated and continue to discriminate against Plaintiff by denying access to, and full

  and equal enjoyment of goods, services, facilities, privileges, advantages and/or accommodations

  at the Subject Facility.



  35.     Even if the Defendants remove the architectural barriers set forth in paragraph 15, and

  make reasonable modifications in policies, practices, or procedures to address discriminatory

  practices, it is clear that the Defendants will fail to maintain compliance with the ADA by

  allowing physical alterations to revert back into noncompliance and by failing to enforce any

  modifications in policies, practices, or procedures.




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  36.     Unless enjoined by the Court, the Defendants shall continue to discriminate against

  Plaintiff and others who are similarly situated by denying access to, and full and equal enjoyment

  of goods, services, facilities, privileges, advantages and/or accommodations at the Subject

  Facility by failing to maintain compliance with the ADA by allowing physical alterations to

  revert back into noncompliance and by failing to enforce any modifications in policies, practices,

  or procedures.



  37.     Injunctive relief requiring the Defendants to maintain compliance is necessary to make

  the Subject Facility accessible to and usable by individuals with disabilities to the full extent

  required by Title III of the ADA.



          WHEREFORE, Plaintiff demands judgment against the Defendants and requests that this

  Honorable Court enter an Order requiring the Defendants to maintain the alterations and

  modifications required to keep the Subject Facility accessible to and usable by individuals with

  disabilities and in compliance with Title III of the ADA and award reasonable attorney's fees, all

  costs (including, but not limited to court costs and expert fees), and other expenses of suit, to

  Plaintiff.


  Respectfully submitted by:

  Ronald E. Stern
  Ronald E. Stern, Esq.
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  Attorney for Plaintiff, RENZO BARBERI

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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.

  RENZO BARBERI,

                Plaintiff,

                vs.

  RALUNA SOLAR ENERGY SOLUTIONS
  INC., a Florida Profit Corporation d/b/a
  CUTLER BAY SOLAR SOLUTIONS and
  SOLAR SOLUTIONS OF FLORIDA
  HOLDINGS INC., a Florida Profit
  Corporation,

              Defendants.
  _______________________________/

                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 23, 2024, I electronically filed the Complaint
  along with a Summons for each Defendant with the Clerk of Court using CM/ECF. I also certify
  that the aforementioned documents are being served on all counsel of record, corporations, or pro
  se parties identified on the attached Service List in the manner specified via Service of Process
  by an authorized Process Server, and that all future pleadings, motions and documents will be
  served either via transmission of Notices of Electronic Filing generated by CM/ECF or via U.S.
  Mail for those counsel or parties who are not authorized to receive electronically Notices of
  Electronic Filing.


  By: Ronald E. Stern
  Ronald E. Stern, Esq.
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  Attorney for Plaintiff, RENZO BARBERI




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                                     SERVICE LIST:

   RENZO BARBERI, Plaintiff, vs. RALUNA SOLAR ENERGY SOLUTIONS INC., a Florida
   Profit Corporation d/b/a CUTLER BAY SOLAR SOLUTIONS and SOLAR SOLUTIONS OF
                     FLORIDA HOLDINGS INC., a Florida Profit Corporation

                  United States District Court Southern District of Florida

                                         Case No.


  RALUNA SOLAR ENERGY SOLUTIONS INC. d/b/a CUTLER BAY SOLAR
  SOLUTIONS

  REGISTERED AGENT:

  VERGARA, RAUL M.
  8301 SW 184TH LANE
  CUTLER BAY, FL 33157

  VIA PROCESS SERVER


  SOLAR SOLUTIONS OF FLORIDA HOLDINGS INC.

  REGISTERED AGENT:

  VERGARA, DENISE M.
  8301 SW 184TH LANE
  CUTLER BAY, FL 33157

  VIA PROCESS SERVER




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